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         EXHIBIT A
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 8
      Infinilux Corporation
 9

10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                WESTERN DIVISION
13      NICOR, INC.,                         Case No. 2:21-cv-05876-AB(PDx)
14
                  Plaintiff,                 [PROPOSED] STIPULATED
                                             PROTECTIVE ORDER
15      v.
16      SOURCEBLUE, LLC f/k/a TURNER
        LOGISTICS, LLC,
17

18                Defendant.

19      Consolidated for all purposes
        with:
20

21
        INFINILUX CORPORATION

22                Plaintiff,
23      v.
24      NICOR, INC.
25
                  Defendant.
26

27

28
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 1
            Based on the parties’ Stipulation, and for good cause shown therein and

 2
      recited herein, the Court finds and orders as follows.

 3
       1.   A. PURPOSES AND LIMITATIONS

 4
            Discovery in this action is likely to involve production of confidential,

 5
      proprietary, or private information for which special protection from public

 6
      disclosure and from use for any purpose other than prosecuting this litigation may

 7
      be warranted. Accordingly, the parties hereby stipulate to and petition the Court to

 8
      enter the following Stipulated Protective Order. The parties acknowledge that this

 9
      Order does not confer blanket protections on all disclosures or responses to

10
      discovery and that the protection it affords from public disclosure and use extends

11
      only to the limited information or items that are entitled to confidential treatment

12    under the applicable legal principles.

13          B. GOOD CAUSE STATEMENT

14          This action is likely to involve trade secrets, customer and pricing lists and

15    other valuable research, development, commercial, financial, technical and/or

16    proprietary information for which special protection from public disclosure and

17    from use for any purpose other than prosecution of this action is warranted. Such

18    confidential and proprietary materials and information consist of, among other

19    things, confidential business or financial information, information regarding

20    confidential business practices, or other confidential research, development, or

21    commercial information (including information implicating privacy rights of third

22    parties), information otherwise generally unavailable to the public, or which may

23    be privileged or otherwise protected from disclosure under state or federal statutes,

24    court rules, case decisions, or common law. Accordingly, to expedite the flow of

25    information, to facilitate the prompt resolution of disputes over confidentiality of

26    discovery materials, to adequately protect information the parties are entitled to

27    keep confidential, to ensure that the parties are permitted reasonable necessary uses

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 1
      of such material in preparation for and in the conduct of trial, to address their

 2
      handling at the end of the litigation, and serve the ends of justice, a protective order

 3
      for such information is justified in this matter. It is the intent of the parties that

 4
      information will not be designated as confidential for tactical reasons and that

 5
      nothing be so designated without a good faith belief that it has been maintained in

 6
      a confidential, non-public manner, and there is good cause why it should not be part

 7
      of the public record of this case.

 8           C. ACKNOWLEDGMENT OF PROCEDURE FOR FILING UNDER

 9    SEAL

10           The parties further acknowledge, as set forth in Section 12.3, below, that this
11    Stipulated Protective Order does not entitle them to file confidential information
12    under seal; Local Civil Rule 79-5 sets forth the procedures that must be followed
13    and the standards that will be applied when a party seeks permission from the court
14    to file material under seal.
15           There is a strong presumption that the public has a right of access to judicial
16    proceedings and records in civil cases. In connection with non-dispositive motions,
17    good cause must be shown to support a filing under seal. See Kamakana v. City and
18    County of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006), Phillips v. Gen. Motors
19    Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002), Makar-Welbon v. Sony Electrics,
20    Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999) (even stipulated protective orders
21    require good cause showing), and a specific showing of good cause or compelling
22    reasons with proper evidentiary support and legal justification, must be made with
23    respect to Protected Material that a Party seeks to file under seal. The parties’ mere
24    designation of Disclosure or Discovery Material as CONFIDENTIAL or HIGHLY
25    CONFIDENTIAL-ATTORNEY EYES ONLY does not—without the submission
26    of competent evidence by declaration, establishing that the material sought to be
27    filed under seal qualifies as confidential, privileged, or otherwise protectable—
28
                                                 3
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 1
      constitute good cause.

 2
             Further, if a Party requests sealing related to a dispositive motion or trial,

 3
      then compelling reasons, not only good cause, for the sealing must be shown, and

 4
      the relief sought shall be narrowly tailored to serve the specific interest to be

 5
      protected. See Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 677-79 (9th Cir.

 6
      2010). For each item or type of information, document, or thing sought to be filed

 7
      or introduced under seal in connection with a dispositive motion or trial, the Party

 8
      seeking protection must articulate compelling reasons, supported by specific facts

 9    and legal justification, for the requested sealing order. Again, competent evidence

10    supporting the application to file documents under seal must be provided by

11    declaration.

12           Any document that is not confidential, privileged, or otherwise protectable

13    in its entirety will not be filed under seal if the confidential portions can be redacted.

14    If documents can be redacted, then a redacted version for public viewing, omitting

15    only the confidential, privileged, or otherwise protectable portions of the document,

16    shall be filed. Any application that seeks to file documents under seal in their

17    entirety should include an explanation of why redaction is not feasible.

18

19    2.     DEFINITIONS

20           2.1     Action: this pending federal law suit.
21          2.2      Challenging Party: a Party or Non-Party that challenges
22    the designation of information or items under this Order.
23          2.3      “CONFIDENTIAL” Information or Items: information (regardless of
24    how it is generated, stored or maintained) or tangible things that qualify for
25    protection under Federal Rule of Civil Procedure 26(c), and as specified above in
26    the Good Cause Statement.
27          2.4      Counsel: Outside Counsel and House Counsel (as well as their support
28
                                                  4
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 1
      staff).

 2
                2.5   Designating Party: a Party or Non-Party that designates information or

 3
      items that it produces in disclosures or in responses to discovery as

 4
      “CONFIDENTIAL”            or   “HIGHLY      CONFIDENTIAL-ATTORNEY              EYES

 5
      ONLY.”

 6
                2.6   Disclosure or Discovery Material: all items or information, regardless

 7    of the medium or manner in which it is generated, stored, or maintained (including,

 8
      among other things, testimony, transcripts, and tangible things), that are produced

 9    or generated in disclosures or responses to discovery in this matter.

10              2.7   Expert: a person with specialized knowledge or experience in a matter

11    pertinent to the litigation who has been retained by a Party or its counsel to serve

12    as an expert witness or as a consultant in this Action.

13              2.8   “HIGHLY        CONFIDENTIAL-ATTORNEY               EYES      ONLY”

14    Information or Items: extremely sensitive “Confidential Information or Items,”

15    disclosure of which to another Party or Non-Party would create a substantial risk

16    of serious harm that could not be avoided by less restrictive means.

17              2.9   House Counsel: attorneys who are employees of a party to this Action.

18    For specificity, in the case of SourceBlue, House Counsel shall include in-house

19    counsel for its parent company, Turner Construction Company. House Counsel

20    does not include Outside Counsel of Record or any other outside counsel.

21              2.10 Non-Party: any natural person, partnership, corporation, association,

22    or other legal entity not named as a Party to this action.

23              2.11 Outside Counsel: Outside Counsel Case Advisors and Outside

24    Counsel of Record.

25              2.12 Outside Counsel Case Advisors: attorneys who are not employees of

26    a party to this Action but are retained to represent or advise a party to this Action

27    about this Action, and includes support staff.

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                                                  5
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 1
            2.13 Outside Counsel of Record: attorneys who are not employees of a

 2
      party to this Action but are retained to represent or advise a party to this Action and

 3
      have appeared in this Action on behalf of that party or are affiliated with a law firm

 4
      which has appeared on behalf of that party, and includes support staff.

 5
            2.14 Party: any party to this Action, including all of its officers, directors,

 6    employees, consultants, retained experts, and Outside Counsel of Record (and their

 7
      support staffs).

 8          2.15 Producing Party: a Party or Non-Party that produces Disclosure or

 9    Discovery Material in this Action.

10          2.16 Professional Vendors: persons or entities that provide litigation

11    support services (e.g., photocopying, videotaping, translating, preparing exhibits or

12    demonstrations, and organizing, storing, or retrieving data in any form or medium)

13    and their employees and subcontractors.

14          2.17 Protected Material: any Disclosure or Discovery Material that is

15    designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–ATTORNEY

16    EYES ONLY.”

17          2.18 Receiving Party: a Party that receives Disclosure or Discovery

18    Material from a Producing Party.

19

20    3.    SCOPE

21          The protections conferred by this Stipulation and Order cover not only
22    Protected Material (as defined above), but also (1) any information copied or
23    extracted from Protected Material; (2) all copies, excerpts, summaries, or
24    compilations of Protected Material; and (3) any testimony, conversations, or
25    presentations by Parties or their Counsel that might reveal Protected Material.
26    However, the protections conferred by this Stipulation and Order do not cover the
27    following information: (a) any information that is in the public domain at the time
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                                                 6
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 1
      of disclosure to a Receiving Party or becomes part of the public domain after its

 2
      disclosure to a Receiving Party as a result of publication not involving a violation

 3
      of this Order, including becoming part of the public record through trial or

 4
      otherwise; and (b) any information known to the Receiving Party prior to the

 5
      disclosure or obtained by the Receiving Party after the disclosure from a source

 6
      who obtained the information lawfully and under no obligation of confidentiality

 7
      to the Designating Party.

 8          Any use of Protected Material at trial shall be governed by the orders of the

 9    trial judge. This Order does not govern the use of Protected Material at trial.

10

11    4.    DURATION

12          Even after final disposition of this litigation, the confidentiality obligations
13    imposed by this Order shall remain in effect until a Designating Party agrees
14    otherwise in writing or a court order otherwise directs. Final disposition shall be
15    deemed to be the later of (1) dismissal of all claims and defenses in this action, with
16    or without prejudice; and (2) final judgment herein after the completion and
17    exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
18    including the time limits for filing any motions or applications for extension of time
19    pursuant to applicable law.
20          Once a case proceeds to trial, information that was designated as
21    CONFIDENTIAL or HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY, or
22    maintained pursuant to this protective order, that is used or introduced as an exhibit
23    at trial becomes public and will be presumptively available to all members of the
24    public, including the press, unless compelling reasons supported by specific factual
25    findings to proceed otherwise are made to the trial judge in advance of the trial. See
26    Kamakana, 447 F.3d at 1180-81 (distinguishing “good cause” showing for sealing
27

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                                                 7
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 1
      documents produced in discovery from “compelling reasons” standard when

 2
      merits-related documents are part of court record). Accordingly, for such materials,

 3
      the terms of this protective order do not extend beyond the commencement of the

 4
      trial.

 5

 6
      5.       DESIGNATING PROTECTED MATERIAL

 7             5.1   Exercise of Restraint and Care in Designating Material for Protection.
 8    Each Party or Non-Party that designates information or items for protection under
 9    this Order must take care to limit any such designation to specific material that
10    qualifies under the appropriate standards. The Designating Party must designate for
11    protection only those parts of material, documents, items, or oral or written
12    communications that qualify so that other portions of the material, documents,
13    items, or communications for which protection is not warranted are not swept
14    unjustifiably within the ambit of this Order.
15             Designations with a higher confidentiality level when a lower level would
16    suffice are prohibited. Mass, indiscriminate, or routinized designations are also
17    prohibited. Unjustified designations or that have been made for an improper
18    purpose (e.g., to unnecessarily encumber the case development process or to
19    impose unnecessary expenses and burdens on other parties) may expose the
20    Designating Party to sanctions.
21             If it comes to a Designating Party’s attention that information or items that it
22    designated for protection do not qualify for protection, that Designating Party must
23    promptly notify all other Parties that it is withdrawing the inapplicable designation.
24             5.2   Manner and Timing of Designations. Except as otherwise provided in
25    this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
26    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
27    under this Order must be clearly so designated before the material is disclosed or
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                                                   8
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 1
       produced.

 2
             Designation in conformity with this Order requires:

 3              (a) For information in documentary form (e.g., paper or electronic

 4     documents, but excluding transcripts of depositions or other pretrial or trial

 5     proceedings), that the Producing Party must affix, at a minimum, the legend

 6     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY

 7     to each page that contains protected material. If only a portion or portions of the

 8     material on a page qualifies for protection, the Producing Party also must clearly

 9     identify the protected portion(s) (e.g., by making appropriate markings in the

10     margins) and must specify for each portion the level of protection being asserted.

11           A Party or Non-Party that makes original documents available for inspection

12     need not designate them for protection until after the inspecting Party has indicated

13     which documents it would like copied and produced. During the inspection and

14     before the designation, all of the material made available for inspection shall be

15     deemed “HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY.” After the

16     inspecting Party has identified the documents it wants copied and produced, the

17     Producing Party must determine which documents, or portions thereof, qualify for

18     protection under this Order. Then, before producing the specified documents, the

19     Producing Party must affix the appropriate legend “CONFIDENTIAL” or

20     “HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY” to each page that

21     contains Protected Material. If only a portion or portions of the material on a page

22     qualifies for protection, the Producing Party also must clearly identify the protected

23     portion(s) (e.g., by making appropriate markings in the margins) and must specify

24     for each portion the level of protection being asserted.

25              (b) For testimony given in depositions that the Designating Party identify

26    on the record, before the close of the deposition, all protected testimony and specify

27    the level of protection being asserted. When it is impractical to identify separately

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 1
      each portion of testimony that is entitled to protection and it appears that substantial

 2
      portions of the testimony may qualify for protection, the Designating Party may

 3
      invoke on the record (before the deposition is concluded) a right to have up to 21

 4
      days to identify the specific portions of the testimony as to which protection is

 5
      sought and to specify the level of protection being asserted. Only those portions of

 6
      the testimony that are appropriately designated for protection within the 21 days

 7
      shall be covered by the provisions of this Stipulated Protective Order. Any transcript

 8
      that is prepared before the expiration of a 21-day period for designation shall be

 9
      treated during that period as if it had been designated “HIGHLY CONFIDENTIAL–

10
      ATTORNEY EYES ONLY” in its entirety unless otherwise agreed. After the

11
      expiration of that period, the transcript shall be treated only as actually designated.

12              (c) For information produced in some form other than documentary and

13    for any other tangible items, that the Producing Party affix in a prominent place on

14    the exterior of the container or containers in which the information is stored the

15    legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL-ATTORNEY EYES

16    ONLY” If only a portion or portions of the information warrants protection, the

17    Producing Party, to the extent practicable, shall identify the protected portion(s).

18           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent

19     failure to designate qualified information or items does not, standing alone, waive

20     the Designating Party’s right to secure protection under this Order for such material.

21     Upon timely correction of a designation, the Receiving Party must make reasonable

22     efforts to assure that the material is treated in accordance with the provisions of this

23     Order.

24

25     6.    CHALLENGING CONFIDENTIALITY OR HIGHLY CONFIDENTIAL-

26           ATTORNEY EYES ONLY DESIGNATIONS

27           6.1    Timing of Challenges. Any Party or Non-Party may challenge a
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                                                  10
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 1
       designation of confidentiality at any time that is consistent with the Court’s

 2
       Scheduling Order.

 3
             6.2    Meet and Confer. The Challenging Party shall initiate the dispute

 4     resolution process in accordance with the procedure set forth on Judge Donahue’s

 5
       webpage        for       handling       discovery        motions:              See

 6
       https://www.cacd.uscourts.gov/honorable-patricia-donahue.

 7           6.3    The burden of persuasion in any such challenge proceeding shall be on

 8
       the Designating Party. Frivolous challenges, and those made for an improper

 9     purpose (e.g., to harass or impose unnecessary expenses and burdens on other

10     parties) may expose the Challenging Party to sanctions. Unless the Designating

11     Party has waived or withdrawn the confidentiality designation, all parties shall

12     continue to afford the material in question the level of protection to which it is

13     entitled under the Producing Party’s designation until the Court rules on the

14     challenge.

15

16     7.   ACCESS TO AND USE OF PROTECTED MATERIAL

17           7.1    Basic Principles. A Receiving Party may use Protected Material that is
18     disclosed or produced by another Party or by a Non-Party in connection with this
19     Action only for prosecuting, defending, or attempting to settle this Action. Such
20     Protected Material may be disclosed only to the categories of persons and under the
21     conditions described in this Order. When the Action has been terminated, a
22     Receiving Party must comply with the provisions of section 13 below (FINAL
23     DISPOSITION).
24           Protected Material must be stored and maintained by a Receiving Party at a
25     location and in a secure manner that ensures that access is limited to the persons
26     authorized under this Order.
27           7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
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                                               11
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 1
       otherwise ordered by the court or permitted in writing by the Designating Party, a

 2
       Receiving    Party   may     disclose    any     information   or   item   designated

 3
       “CONFIDENTIAL” only to:

 4
                (a) the Receiving Party’s Outside Counsel of Record in this Action, as

 5
       well as employees of said Outside Counsel of Record to whom it is reasonably

 6
       necessary to disclose the information for this Action;

 7
                (b) the Receiving Party’s Outside Counsel Case Advisor for this Action,

 8
       as well as employees of said Outside Counsel Case Advisor to whom it is

 9     reasonably necessary to disclose the information for this Action and who have

10     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

11              (c) the officers, directors, and employees (including House Counsel) of

12     the Receiving Party to whom disclosure is reasonably necessary for this Action and

13     who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

14              (d) Experts (as defined in this Order) of the Receiving Party to whom

15     disclosure is reasonably necessary for this Action and who have signed the

16     “Acknowledgment and Agreement to Be Bound” (Exhibit A);

17              (e) the court and its personnel;

18              (f) court reporters and their staff;

19              (g) professional jury or trial consultants, mock jurors, and Professional

20     Vendors to whom disclosure is reasonably necessary for this Action and who have

21     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

22              (h) the author or recipient of a document containing the information or a

23     custodian or other person who otherwise possessed or knew the information;

24              (i) during the deposition of (and their subsequent review of the transcript)

25     (1) a Designating Party or a Designating Party’s employees, agents, or

26     representatives, and (2) witnesses, and attorneys for witnesses, in the Action to

27     whom disclosure is reasonably necessary provided the witness signs the

28
                                                   12
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 1
       “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

 2
       agreed by the Designating Party or ordered by the court. Pages of transcribed

 3
       deposition testimony or exhibits to depositions that reveal Protected Material may

 4
       be separately bound by the court reporter and may not be disclosed to anyone except

 5
       as permitted under this Stipulated Protective Order; and

 6
                (j) any mediator or settlement officer, and their supporting personnel,

 7
       mutually agreed upon by any of the parties engaged in settlement discussions.

 8           7.3    Disclosure of “HIGHLY CONFIDENTIAL-ATTORNEY EYES

 9     ONLY” Information or Items. Unless otherwise ordered by the court or permitted

10     in writing by the Designating Party, a Receiving Party may disclose any information

11     or item designated “HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY” only

12     to:

13              (a) the Receiving Party’s Outside Counsel of Record in this Action, as

14     well as employees of said Outside Counsel of Record to whom it is reasonably

15     necessary to disclose the information for this Action;

16              (b) the Receiving Party’s Outside Counsel Case Advisor for this Action,

17     as well as employees of said Outside Counsel Case Advisor to whom it is

18     reasonably necessary to disclose the information for this Action and who have

19     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

20              (c) up to one House Counsel (and his or her support staff) of the Receiving

21     Party (“Designated House Counsel”) (1) who is not involved in competitive

22     decision making, (2) to whom disclosure is reasonably necessary for this litigation,

23     (3) who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

24     A); and (4) who has been approved pursuant to procedure set forth in paragraph 7.4

25     below;

26              (d) Experts (as defined in this Order) of the Receiving Party to whom

27     disclosure is reasonably necessary for this Action and (1) who have signed the

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                                                13
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 1
       “Acknowledgment and Agreement to Be Bound” (Exhibit A) and (2) who have

 2
       been approved pursuant to procedure set forth in paragraph 7.4 below;

 3
               (e) the court and its personnel;

 4
               (f) court reporters and their staff;

 5
               (g) professional jury or trial consultants, mock jurors, and Professional

 6
       Vendors to whom disclosure is reasonably necessary for this Action and who have

 7
       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 8
               (h) the author or recipient of a document containing the information or a

 9
       custodian or other person who otherwise possessed or knew the information;

10
               (i) during the deposition of (and the subsequent review of the transcript

11
       by) (1) a Designating Party or a Designating Party’s employees, agents, or

12     representatives, and (2) witnesses, and attorneys for witnesses, in the Action to

13     whom disclosure is reasonably necessary provided the witness signs the

14     “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

15     agreed by the Designating Party or ordered by the court. Pages of transcribed

16     deposition testimony or exhibits to depositions that reveal Protected Material may

17     be separately bound by the court reporter and may not be disclosed to anyone except

18     as permitted under this Stipulated Protective Order; and

19             (j) any mediator or settlement officer, and their supporting personnel,

20     mutually agreed upon by any of the parties engaged in settlement discussions.

21           7.4   Procedures for Approving or Objecting to Disclosure of “HIGHLY

22     CONFIDENTIAL-ATTORNEY EYES ONLY” Information or Items to

23     Designated House Counsel and Experts.

24             (a) A Party seeking to disclose to Designated House Counsel any material

25     designated HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY must first

26     make a written request to the Designating Party providing the full name of the

27     inhouse counsel, the city and state of such counsel’s residence, and such counsel’s

28
                                                  14
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 1
       current and reasonably foreseeable future primary job duties and responsibilities in

 2
       sufficient detail to determine present or potential involvement in any competitive

 3
       decision making.

 4
                (b) A Receiving Party seeking to disclose to an Expert retained by the

 5
       Party any Disclosure or Discovery Material that has been designated HIGHLY

 6
       CONFIDENTIAL-ATTORNEY EYES ONLY must first make a written request to

 7
       the Designating Party that (1) identifies the general categories of HIGHLY

 8
       CONFIDENTIAL-ATTORNEY EYES ONLY information that the Receiving

 9
       Party seeks permission to disclose to the Expert, (2) sets forth the full name of the

10
       Expert and the city and state of his or her primary residence, (3) attaches a copy of

11
       the Expert’s current resume, (4) identifies the Expert’s current employer(s), (5)

12     identifies each person or entity from whom the Expert has received compensation

13     or funding for work in his or her areas of expertise (including in connection with

14     litigation) in the past five years, and (6) identifies (by name and number of the case,

15     filing date, and location of court) any litigation where the Expert has offered expert

16     testimony, including by declaration, report or testimony at deposition or trial, in the

17     past five years. If the Expert believes any of this information at (4) - (6) is subject

18     to a confidentiality obligation to a Non-Party, then the Expert should provide

19     whatever information the Expert believes can be disclosed without violating any

20     confidentiality agreements, and the Receiving Party seeking to disclose the

21     information to the Expert shall be available to meet and confer with the Designating

22     Party regarding any such confidentiality obligations.

23              (c) A Party that makes a request and provides the information specified in

24     paragraphs 4(a) or 4(b) may disclose the Protected Material to the Designated

25     House Counsel or Expert unless, within seven days of delivering the request, the

26     Party receives a written objection from the Designating Party providing detailed

27     grounds for the objection.

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                                                 15
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 1
                (d) All challenges to objections from the Designating Party shall proceed

 2
       in accordance with the procedure set forth on Judge Donahue’s webpage for

 3
       handling discovery motions:         See https://www.cacd.uscourts.gov/honorable-

 4
       patricia-donahue.

 5

 6
              8.     PROSECUTION BAR

 7
             Absent written consent from the Producing Party, any individual who

 8
       receives access to “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–

 9
       ATTORNEY EYES ONLY” information shall not be involved in the prosecution

10
       of patents or patent applications relating to lighting control units for buildings,

11
       including without limitation the patents asserted in this action and any patent or

12     application claiming priority to or otherwise related to the patents asserted in this

13     action, before any foreign or domestic agency, including the United States Patent

14     and Trademark Office (“the Patent Office”). For purposes of this paragraph,

15     “prosecution” includes directly or indirectly drafting, amending, advising, or

16     otherwise affecting the scope or maintenance of patent claims. To avoid any doubt,

17     “prosecution” as used in this paragraph does not include representing a party

18     challenging a patent before a domestic or foreign agency (including, but not limited

19     to, a reissue protest, ex parte reexamination or inter partes reexamination). This

20     Prosecution Bar shall begin when access to “HIGHLY CONFIDENTIAL–

21     ATTORNEY EYES ONLY” information is first received by the affected individual

22     and shall end one (1) year after final termination of this action.

23     9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED

24     IN OTHER LITIGATION

25           If a Party is served with a subpoena or a court order issued in other litigation
26     that compels disclosure of any Protected Material of another Party, that Party must:
27

28
                                                 16
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 1
                 (a) promptly notify in writing the Designating Party. Such notification

 2
       shall include a copy of the subpoena or court order;

 3
                 (b) promptly notify in writing the party who caused the subpoena or order

 4
       to issue in the other litigation that some or all of the material covered by the

 5
       subpoena or order is subject to this Protective Order. Such notification shall include

 6
       a copy of this Stipulated Protective Order; and

 7
                 (c) cooperate with respect to all reasonable procedures sought to be

 8
       pursued by the Designating Party whose Protected Material may be affected.

 9               If the Designating Party timely seeks a protective order, the Party served

10     with the subpoena or court order shall not produce any Protected Material before a

11     determination by the court from which the subpoena or order issued, unless the

12     Party has obtained the Designating Party’s permission. The Designating Party shall

13     bear the burden and expense of seeking protection in that court of its confidential

14     material and nothing in these provisions should be construed as authorizing or

15     encouraging a Receiving Party in this Action to disobey a lawful directive from

16     another court.

17

18     10.   A       NON-PARTY’S        PROTECTED             MATERIAL          SOUGHT

19     TO    BE PRODUCED IN THIS LITIGATION

20               (a) The terms of this Order are applicable to information produced by a
21     Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
22     CONFIDENTIAL-ATTORNEY EYES ONLY.” Such information produced by
23     Non-Parties in connection with this litigation is protected by the remedies and relief
24     provided by this Order. Nothing in these provisions should be construed as
25     prohibiting a Non-Party from seeking additional protections.
26               (b) In the event that a Party is required, by a valid discovery request, to
27     produce a Non-Party’s confidential information in its possession, and the Party is
28
                                                 17
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 1
       subject to an agreement with the Non-Party not to produce the Non-Party’s

 2
       confidential information, then the Party shall:

 3                  (1) promptly notify in writing the Requesting Party and the Non-
 4     Party that some or all of the information requested is subject to a confidentiality
 5     agreement with a Non-Party;
 6                  (2) promptly provide the Non-Party with a copy of the Stipulated
 7     Protective Order in this Action, the relevant discovery request(s), and a reasonably
 8     specific description of the information requested; and
 9                  (3) make the information requested available for inspection by the
10     Non-Party, if requested.
11              (c) If the Non-Party fails to seek a protective order from this court within
12     14 days of receiving the notice and accompanying information, the Receiving Party
13     may produce the Non-Party’s confidential information responsive to the discovery
14     request. If the Non-Party timely seeks a protective order, the Receiving Party shall
15     not produce any information in its possession or control that is subject to the
16     confidentiality agreement with the Non-Party before a determination by the court.
17     Absent a court order to the contrary, the Non-Party shall bear the burden and
18     expense of seeking protection in this court of its Protected Material.
19

20     11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
21           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
22     Protected Material to any person or in any circumstance not authorized under this
23     Stipulated Protective Order, the Receiving Party must immediately (a) notify in
24     writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
25     to retrieve all unauthorized copies of the Protected Material, (c) inform the person
26     or persons to whom unauthorized disclosures were made of all the terms of this
27

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                                                 18
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 1
       Order, and (d) request such person or persons to execute the “Acknowledgment and

 2
       Agreement to Be Bound” that is attached hereto as Exhibit A.

 3

 4     12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 5     PROTECTED MATERIAL
 6           When a Producing Party gives notice to Receiving Parties that certain
 7     inadvertently produced material is subject to a claim of privilege or other
 8     protection, the obligations of the Receiving Parties are those set forth in Federal
 9     Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
10     whatever procedure may be established in an e-discovery order that provides for
11     production without prior privilege review. Pursuant to Federal Rule of Evidence
12     502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
13     of a communication or information covered by the attorney-client privilege or work
14     product protection, the parties may incorporate their agreement in the stipulated
15     protective order submitted to the court.
16

17     13.   MISCELLANEOUS
18
             13.1 Right to Further Relief. Nothing in this Order abridges the right of any
19
       person to seek its modification by the Court in the future.
20
             13.2 Right to Assert Other Objections. By stipulating to the entry of this
21
       Protective Order no Party waives any right it otherwise would have to object to
22
       disclosing or producing any information or item on any ground not addressed in
23
       this Stipulated Protective Order. Similarly, no Party waives any right to object on
24
       any ground to use in evidence of any of the material covered by this Protective
25
       Order.
26
             13.3 Filing Protected Material. A Party that seeks to file under seal any
27

28
                                                  19
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 1
       Protected Material must comply with Civil Local Rule 79-5. Protected Material

 2
       may only be filed under seal pursuant to a court order authorizing the sealing of the

 3
       specific Protected Material at issue. If a Party's request to file Protected Material

 4
       under seal is denied by the court, then the Receiving Party may file the information

 5
       in the public record unless otherwise instructed by the court.

 6

 7
       14.   FINAL DISPOSITION

 8           After the final disposition of this Action, as defined in paragraph 4, within
 9     60 days of a written request by the Designating Party, each Receiving Party must
10     return all Protected Material to the Producing Party or destroy such material. As
11     used in this subdivision, “all Protected Material” includes all copies, abstracts,
12     compilations, summaries, and any other format reproducing or capturing any of the
13     Protected Material. Whether the Protected Material is returned or destroyed, the
14     Receiving Party must submit a written certification to the Producing Party (and, if
15     not the same person or entity, to the Designating Party) by the 60 day deadline that
16     (1) identifies (by category, where appropriate) all the Protected Material that was
17     returned or destroyed and (2)affirms that the Receiving Party has not retained any
18     copies, abstracts, compilations, summaries or any other format reproducing or
19     capturing any of the Protected Material. Notwithstanding this provision, Counsel
20     are entitled to retain an archival copy of all pleadings, motion papers, trial,
21     deposition, and hearing transcripts, legal memoranda, correspondence, deposition
22     and trial exhibits, expert reports, attorney work product, and consultant and expert
23     work product, even if such materials contain Protected Material. Any such archival
24     copies that contain or constitute Protected Material remain subject to this Protective
25     Order as set forth in Section 4 (DURATION).
26

27

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                                                 20
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 1
       15.   Any violation of this Order may be punished by any and all appropriate

 2
       measures including, without limitation, contempt proceedings and/or monetary

 3
       sanctions.

 4

 5     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

 6

 7     DATED: _____________________

 8

 9     _______________________________________
       Patricia Donahue
10     United States Magistrate Judge
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 1
                                EXHIBIT A
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2

 3      I,   ________________________            [print      or    type full     name], of
 4      _________________ [print or type full address], declare under penalty of perjury
 5      that I have read in its entirety and understand the Stipulated Protective Order that
 6      was issued by the United States District Court for the Central District of
 7      California on [date] in the case of __________ [insert formal name of the
 8      case and the number and initials assigned to it by the court]. I agree to comply
 9      with and to be bound by all the terms of this Stipulated Protective Order and I
10      understand and acknowledge that failure to so comply could expose me to
11      sanctions and punishment in the nature of contempt. I solemnly promise that I will
12      not disclose in any manner any information or item that is subject to this Stipulated
13      Protective Order to any person or entity except in strict compliance with the
14      provisions of this Order.
15      I further agree to submit to the jurisdiction of the United States District Court for
16      the Central District of California for the purpose of enforcing the terms of this
17      Stipulated Protective Order, even if such enforcement proceedings occur after
18      termination of this action. I hereby appoint ________________________ [print
19      or type full name] of _________ [print or type full address and telephone number]
20      as my California agent for service of process in connection with this action or any
21      proceedings related to enforcement of this Stipulated Protective Order.
22

23      Date: __________________________

24      City and State where sworn and signed: _____________________________
25
        Printed name: ____________________________________
26

27      Signature: ________________________________
28
                                                 22
